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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                 No. l:20-cr-183

             vs.                               Hon. Robert J. Jonker
                                               Chief United States District Judge
KALEB JAMES FRANKS,

       Defendant.
_____________     ./

                                 PLEA AGREEMENT

      This constitutes the plea agreement between Kaleb James Franks and the

United States Attorney's Office for the Western District of Michigan. The terms of

the agreement are as follows:

      1.     The Defendant Agrees to Plead Guilty.      The defendant agrees to

plead guilty to the superseding indictment, which charges him with kidnapping

conspiracy, in violation of 18 U.S.C. § 120l(c).

      2.     The Defendant Understands the Crime.        In order for the defendant to

be guilty, the following must be true:

             a. Two or more persons agreed to commit the federal offense of
                kidnapping;

             b. The defendant knowingly and voluntarily joined that agreement;
                and,

             c. A member of the conspiracy did one of the overt acts described in
                the superseding indictment for the purpose of advancing or helping
                the conspiracy.
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         The defendant is pleading guilty because he is guilty of the charge described

above.

         3.    The Defendant Understands the Penalty.         The statutory maximum

sentence that the Court can impose is imprisonment for life, a fine of $250,000, five

years of supervised release, and a $100 special assessment.

         4.    Mandatory Restitution.     The defendant understands that he will be

required to pay full restitution as required by law.

         5.    Asset Forfeiture and Financial Accountability.     The defendant agrees

to fully cooperate with the federal government in the seizure and forfeiture of

assets, to include any property constituting, or derived from, any proceeds obtained,

directly or indirectly, as the result of the offense of conviction, kidnapping

conspiracy, in violation of 18 U.S.C. § 120l(c), and any property used, or intended to

be used, in any manner or part, to commit, or to facilitate a conspiracy to use

weapons of mass destruction, in violation of 18 U.S.C. § 2332a. The defendant

agrees that illegal proceeds obtained as the result of the kidnapping conspiracy are

subject to forfeiture pursuant to 19 U.S.C. §§ 1607-09 by 18 U.S.C. § 98l(d)

(administrative forfeiture), 18 U.S.C. § 98l(a)(l)(C) and 28 U.S.C. § 2461 (criminal

and civil forfeiture), that any proceeds or property used, or intended to be used, to

facilitate a conspiracy to use weapons of mass destruction are subject to forfeiture

pursuant to 19 U.S.C. §§ 1607-09 by 18 U.S.C. § 98l(d) (administrative forfeiture),

18 U.S.C. §§ 98l(a)(l)(C), (G), and 28 U.S.C. § 2461 (criminal and civil forfeiture),

and that any firearm or ammunition involved in or used in any violation of any



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other criminal law of the United States are subject to forfeiture pursuant to 18

U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

       Specifically, the defendant consents to administrative forfeiture by the

Federal Bureau of Investigation, and if necessary, the defendant consents to civil

forfeiture in a future civil judicial forfeiture proceeding of any and all assets seized,

including any firearms and ammunition, from the following locations on October 7,

2020 and October 8, 2020:

              a. a search of the defendant's person;

              b. 1034 Holbrook Avenue, Waterford, Michigan;

              c. a blue 2009 Chrysler PT Cruiser with Michigan plate DPX1928,

                 VIN 3A8FY58949T576301 parked at 1034 Holbrook Avenue,

                 Waterford, Michigan.

      The defendant agrees that there was reasonable cause to search these

locations and seize all assets from these locations on October 7, 2020 and October 8,

2020, and that the assets are subject to forfeiture by the Federal Government as

either illegal proceeds or property that was used or intended to be used to violate

federal criminal law, or as firearms and ammunition involved in or used in

violations of federal criminal law. The defendant agrees to waive any and all rights

in any administrative or future civil judicial forfeiture proceedings regarding these

assets. The defendant also agrees to sign any paperwork that is necessary to ensure

that the administrative or civil judicial forfeiture of these assets is completed.




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       The defendant also agrees not to assist any other individual in contesting the

forfeiture of the assets described above in any type of subsequent administrative

civil or criminal forfeiture proceeding the defendant further agrees to cooperate

with the federal government in any type of subsequent administrative, civil, or

criminal forfeiture proceeding and that such cooperation may include, but not be

limited to, providing truthful testimony any future civil or criminal forfeiture

hearing. The defendant also agrees to prevent the disbursement of any and all

assets subject to this forfeiture provision if said disbursements are within the

defendant's direct or indirect control.

      6.     Factual Basis of Guilt.      The defendant and the U.S. Attorney's Office

stipulate to the following· statement of facts which need not be proven at the time of

the plea or sentencing:

             a.     From at least on or about June 6, 2020, through and including

October 7, 2020, in the Southern Division of the Western District of Michigan and

elsewhere, the defendant willfully and knowingly conspired with Adam Dean Fox

("Fox"), Barry Gordon Croft, Jr. ("Croft"), Daniel Joseph Harris ("Harris"), Brandon

Michael-Ray Caserta ("Caserta") and Ty Gerard Garbin ("Garbin") to kidnap the

Governor of the State of Michigan ("the Governor").

             b.     In the spring of 2020, the defendant connected online with

members of the Wolverine Watchmen, a Michigan-based self-styled "militia" group,

through a firearms group on Facebook. At their invitation, he attended a protest in

Lake Orion, Michigan, where he met Harris. Harris showed the defendant how to



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download the encrypted messaging application Wire, and invited him to join the

Wolverine Watchmen's chat group. The defendant understood they were using

encrypted communications to conceal discussion of illegal activity from law

enforcement. Harris and another Watchman told the defendant that he would have

to be "vetted" before he could join their org·anization. After passing their vetting

process, the defendant began attending their meetings to train and improve his

proficiency with firearms. The group included Harris, Caserta, and Garbin.

             c.     On or about June 28, 2020, the defendant met with Harris,

Caserta, Garbin, and other members of the Wolverine Watchmen for a "tactical

training" in Munith, Michigan. Fox arrived at the meeting as the defendant was

preparing to leave. This was the first time the defendant met Fox.

             d.     On or about July 7, 2020, the defendant met Caserta, Harris,

Garbin, and other Wolverine Watchmen in Milford, Michigan. A Watchman handed

out a list of code words to use in their communications, to conceal their discussion of

illegal activities, weapons, and tactics in case their group was infiltrated. The group

discussed one Watchman's proposal to "black bag politicians." The defendant and

Harris thought the plan wouldn't work at that time, but later changed their minds.

The group agreed that it remained an "open discussion" as to when exactly it was

appropriate to launch aggressive measures against the government.

             e.     On or about July 10, 2020, the defendant, Harris, Caserta, and

Garbin drove through the Western District of Michigan and the city of Chicago,

Illinois to attend a "field training exercise" in Cambria, Wisconsin. They discussed



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what to do if they were stopped in Chicago with prohibited firearms, and Harris

said, "you're all in the car with an illegal SBR." The defendant knew Harris had

brought his short barreled rifle, which he frequently used for training exercises.

              f.    The defendant, Harris, Caserta, and Garbin met Fox and others

in Cambria, where they trained from July 11-12, 2020. At that exercise, the

defendant met Croft for the first time. Croft brought a "300 Blackout" AR-15 type

semiautomatic assault rifle, with a short barrel, a silencer, and a 37-millimeter

projectile launcher. Croft discussed modifying legal projectiles to launch explosive

devices. Croft also brought materials for constructing improvised explosive devices

("IEDs") using gunpowder and BBs as shrapnel. Croft and Harris assembled.two

IEDs, which they unsuccessfully attempted to detonate.

             g.     On or about July 18, 2020, the defendant, Fox, Croft, Harris and.

others attended a meeting of regional "militia" members in Peebles, Ohio. Croft said

the group needed to "do something," and proposed planting explosive devices at

Michigan State Police posts. Fox said they could storm the Capitol with 200 men,

using machine guns and snipers. The defendant and Garbin believed that plan was

not feasible with the group's available manpower, training, and equipment. Fox also

proposed kidnapping the Governor of Michigan ("the Governor") from other

locations as an alternative. Fox and Croft discussed waiting until the upcoming

election, when they thought law enforcement resources would be spread thin

responding to civil unrest.




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              h.    On or about July 23, 2020, the defendant met Harris, Garbin,

and other members of the Wolverine Watchmen at Harris' residence in Lake Orion,

Michigan. The defendant, Harris, and Garbin told the other attendees about Fox's

original plan to storm the Capitol, which they did not favor. They told the other

attendees that they and Fox had another plan, and if they weren't "down" for

participating, they should leave the meeting. The defendant, Harris, and Garbin

knew the "other plan" was to kidnap the Governor. The defendant knowingly and

voluntarily joined that plan.

              1.    On or about August 23, 2020, the defendant, Harris,, Caserta,

Garbin and others met again at Harris' residence in Lake Orion. The attendees

were concerned that their group had been infiltrated by law enforcement, and

brought documents to prove their identities. Harris told the group to begin using a

new encrypted. chat application that would allow them to instantly delete their

messages to avoid detection by the FBI. The defendant and Caserta discussed their

frustration with people who advocated anti-govermnent action, but were unwilling

to use force themselves.

              J.    On or about August 29, 2020, Fox conducted a daytime

surveillance of the Governor's vacation home, in the Western District of Michigan.

After the surveillance, Fox posted pictures of the house to the defendants' encrypted

group chat.

              k.    On or about September 12-13, 2020, the defendant, Fox, Croft,

Harris, Caserta, and Garbin attended a "field training exercise" at Garbin's



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property near Luther, Michigan. The defendant helped Garbin construct a firing

range, using earth-moving equipment and hundreds of used tires the defendant

acquired from a tire shop. The defendants constructed a "shoot house" and used it to

practice breaching a residence with firearms. Fox and Croft said it would serve as a

"mockup" of the Governor's home.

              1.     During the afternoon of September 12, 2020, the defendant, Fox,

Croft, Harris, Caserta and others discussed the plot to kidnap the Governor. The

defendant, Fox, Croft, Garbin and others left Luther, Michigan in three cars to

conduct a nighttime reconnaissance of the Governor's home. Before departing, Fox

and Croft changed out of their tactical clothing into "street clothes" to be less

conspicuous. Fox was armed with a semiautomatic pistol. They left Harris and

Caserta behind because they had been drinking.

              m.     On the way to the Governor's house, the surveillance team

stopped at a hotel in Big Rapids, Michigan where Croft had rented a room. As they

were leaving the hotel parking lot, Croft said "I'm going to get eyes on the bridge,"

or words to that effect.

             n.     After leaving Big Rapids, the surveillance team drove to a Wal-

Mart parking lot, where the defendant got in a car with Garbin and a driver from

Wisconsin. Fox gave the driver the Governor's address. Fox and Croft departed in

the second car. The three cars next drove to a VFW post in a town near the

Governor's home, where they had a final discussion about the surveillance plan. The

defendant, Garbin and the driver from Wisconsin were instructed to find the home,



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and Croft and Fox would attempt to signal them with lights from a boat ramp on

the opposite shore of the nearby lake. The individuals in the third car would drive

around to make sure no one was following them.

              o.    The three cars departed the VFW post, and the defendant's car

attempted to find the Governor's house. They were unable to locate it with certainty

in the dark, because as they later learned, Fox had reversed digits in the street

address. The defendant later told Fox that Fox should have been in the car going to

the home, since he had been there before in the daylight. After surveilling the

Governor's house, the reconnaissance team returned to Garbin's property in Luther.

             p.     The next morning, the defendant, Fox, Croft, Harris, Caserta,

and Garbin gathered for a debriefing about the reconnaissance, and to discuss their

future plans. Harris told the defendant, "I wish I would've made it, you guys left

without me," or words to that effect.

             q.     Fox told the other defendants they had found a place to put

explosives under a bridge near the Governor's house and asked the group to

contribute $4,000 to purchase them. Croft said they could use the 37-millimeter

projectile launcher on his assault rifle to take out the lead vehicle in the Governor's

protective detail. Croft also said if they used IEDs to ambush the Governor's convoy,

they wouldn't need to blow up the bridge.

             r.     Later on September 13, 2020, Croft produced a larger IED he

had constructed, and several paper human silhouette targets. Croft said he wanted

to hang the targets around the device, and see what kind of"damage" the shrapnel



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 would cause. The defendant saw Croft, Harris, and Caserta walk to a location just

 off Garbin's property with the bomb, and heard it detonate.

              s.     Before the group left Garbin's property in Luther on September

 13, 2020, Fox told the group they needed to do more "recon" to prepare. He also said

 they needed to be "opportunistic," and be ready to act "when the asset arises," (in

 other words, when the Governor arrived at the vacation home). The defendants

 agreed to meet again for a final field training exercise in October, but were arrested

 first.

              t.    The defendant became aware after his arrest that several

individuals whom he believed to be fellow conspirators were actually undercover

informants or agents, including Confidential Human Sources (CHS) "Dan" and

"Steve." The defendant was not entrapped or induced to commit any crimes by these

individuals. The defendant also knows Fox, Croft, Harris and Caserta were not

entrapped, based on personal observation and discussions. For instance, Fox

proposed assaulting the Capitol the first time the defendant met him, which was

also the first time Fox met CHS Dan. The defendant frequently heard Fox and Croft

initiate conversations about fighting government authority and kidnapping the

Governor without prompting. The defendant also heard Harris and Caserta express

similar anti-government sentiments during his private discussions with them, when

no government informant was present. During all their months of training together,

the defendant never heard Fox, Croft, Harris, or Caserta say they were doing

anything because CHS Dan, CHS Steve, or any other informant had advocated it.



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        7.    Cooperation in Criminal Investigations.      The defendant agrees to

 fully cooperate with the FBI, the U.S. Attorney's Office, the Michigan State Police,

 the Michigan Attorney General, and any other law enforcement agency in their

 investigation of the charges contained in the superseding indictment, as well as the

 investigation of crimes over which they have actual or apparent jurisdiction. The

 defendant's cooperation will consist of all steps needed to uncover and prosecute

 such crimes, including, but not limited to, providing investigators with a full,

 complete and truthful statement concerning his knowledge of any and all criminal

 activity of which he is aware; truthfully answering investigators' questions; meeting

with prosecutors before testifying; truthfully testifying before grand juries and in

 any court proceedings; and providing all relevant tangible evidence in his

possession or under his control, including, but not limited to, objects, documents,

 and photographs. The defendant's obligation to cooperate under this paragraph is

 an affirmative one and includes the obligation to voluntarily come forward with any

 and all information which he should reasonably know will assist in the

investigation of other criminal activity. The defendant will not commit any criminal

offense during the course of his cooperation with the United States. The defendant

will submit to polygraph examination upon request. The defendant's obligation

under this paragraph is a continuing one, and shall continue after sentencing until

all investigations and prosecutions in which his cooperation is deemed relevant by

the U.S. Attorney's Office have been completed.




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        8.    The U.S. Attorney's Office Agrees:

              a.     No Additional Charges.      The U.S. Attorney's Office agrees not

 to bring additional criminal charges against the defendant arising out of the

 conspiracy to kidnap as charged in the superseding indictment, including

 conspiracy to use weapons of mass destruction in violation of 18 U.S.C. § 2332a,

 possession of unregistered weapons in violation of 26 U.S.C. § 5861, and conspiracy

 to sell firearms to a convicted felon in violation of 18 U.S.C. § 922(d), provided that

 the conduct is disclosed to the government by the defendant or his attorney prior to

 the date of this agreement. This promise of non-prosecution shall not include any

 crimes of violence that are entirely unrelated to the conspiracy to kidnap charged in

 the superseding indictment or criminal tax violations (including conspiracy to

 commit such violations chargeable under 18 U.S.C. § 371).

              b.     Acceptance of Responsibility.     The U.S. Attorney's Office

 agrees not to oppose the defendant's request for a two-level reduction of his offense

 level for acceptance of responsibility under Section 3El.l(a) of the Sentencing

 Guidelines. However, the U.S. Attorney's Office reserves the right to object to such

 request if it subsequently learns of conduct by the defendant that is inconsistent

with the criteria set forth in the Commentary to Section 3El.l. Should the Court

 grant a two-level reduction as provided herein, the U.S. Attorney's Office will move

the Court to grant an additional one-level reduction if the adjusted offense level is

 16 or greater pursuant to Section 3El.l(b).




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              c.     Protection for Proffered/Cooperative Statements.      The U.S.

 Attorney's Office agrees that information provided by the defendant through his

 proffer, and any information provided pursuant to his promise to cooperate as

 described in this agreement, will not be used by the Government to enhance his

 sentence, in accordance with Sentencing Guidelines § lBl.8, and according to the

 terms of the written agreement entered into between the parties immediately prior

 to the proffer. It is expressly understood, however, that such information may be

 used by the Government at sentencing if the defendant takes a position at

 sentencing that contradicts information he provided pursuant to this agreement or

 any proffer agreement.

             d.     Possibility of Sentence Reduction Motions.     The U.S.

Attorney's Office will decide whether to file a motion for departure or reduction of

sentence pursuant to Sentencing Guidelines§ 5Kl.l, 18 U.S.C. § 3553(e), and/or

Rule 35(b) of the Federal Rules of Criminal Procedure. The defendant fully

understands that such a motion may be made pursuant to law if, and only if, he

fully cooperates with the Government and materially and substantially assists the

Government in the investigation or prosecution of others. The determinations of

whether the defendant has provided substantial assistance to the United States, or

to designated state or local law enforcement authorities, and of which type of

motion to file, will be made in the sole discretion of the U.S. Attorney's Office. The

defendant fully understands that this paragraph is not a promise by the

Government to file a motion for departure or to reduce a sentence.



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        Additionally, the defendant understands that, even if such a motion were

 filed, the Court has complete discretion to grant or deny the motion. Furthermore,

 if the Court were to grant the motion, the Court-not the government-would

 decide how much of a departure or sentence reduction the defendant receives based

 upon the nature and extent of his assistance. The defendant acknowledges and

 agrees that he may not appeal the Court's exercise of its discretion in granting or

 denying a motion for departure or reduction of sentence, if such a motion is made.

        9.    The Sentencing Guidelines.        The defendant understands that

 although the United States Sentencing Guidelines (the "Guidelines") are not

 mandatory, the Court must consult the Guidelines and take them into account

 when sentencing him. The defendant understands that the Court, with the aid of

 the presentence report, will determine the facts and calculations relevant to

 sentencing. The defendant understands that he and his attorney will have the

 opportunity to review the presentence report and to make objections, suggestions,

 and recommendations concerning the calculation of the Guideline range and the

 sentence to be imposed. The defendant further understands that the Court will

 make the final determination of the Guideline range that applies in this case, and

 may impose a sentence within, abov_e, or below the Guideline range, subject to the

 statutory maximum penalties described elsewhere in this agreement. The

 defendant further understands that disagreement with the Guideline range or

 sentence shall not constitute a basis for withdrawal of his plea.




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        10.   There Is No Agreement About the Final Sentencing Guidelines Range.

       The defendant and the U.S. Attorney's Office have no agreement as to the

 applicable Sentencing Guidelines factors or the appropriate guideline range. Both

 parties reserve the right to seek any sentence within the statutory maximum, and

 to argue for any criminal history category and score, offense level, specific offense

 characteristics, adjustments and departures.

        11.   Waiver of Constitutional Rights.         By pleading guilty, the

 defendant gives up the right to persist in a plea of not guilty and the right to a

 speedy and public trial by jury or by the Court. As a result of the defendant's guilty

plea(s), there will be no trial. At any trial, whether by jury or by the Court, the

defendant would have had the following rights:

              a.     The right to the assistance of counsel, including ifhe could not

afford an attorney, the right to have the court appoint an attorney to represent him;

              b.     The right to be presumed innocent and to have the burden of

proof placed on the government to prove his guilt beyond a reasonable doubt;

              c.     The right to confront and cross-examine witnesses against him;

              d.     The right, if he wished, to testify on his own behalf and present

evidence in opposition to the charges, including the right to call witnesses and to

subpoena those witnesses to testify;

              e.     The right not to be compelled to testify, and, ifhe chose not to

testify or present evidence, to have that choice not be used against him.




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          By pleading guilty, the defendant also gives up any and all rights to pursue

 in this court or on appeal any affirmative defenses, Fourth Amendment or Fifth

 Amendment claims, and other pretrial motions that have been filed or could be

 filed.

          12.   Limited Waiver of Appeal and Collateral Attack.

                a.     Waiver:       In exchange for the promises made by the

 government in entering this plea agreement, the defendant waives all rights to

 appeal or collaterally attack his conviction, sentence, or any other matter relating to

 this prosecution, except as listed below.

                b.    Exceptions: The defendant may appeal or seek collateral relief

 to raise a claim, if otherwise permitted by law in such a proceeding, on the following

 grounds:

                       1. The sentence on any count of conviction exceeded the
                          statutory maximum for that count;

                      11.   The sentence was based on an unconstitutional factor, such
                            as race, religion, national origin, or gender;

                     111. The district court incorrectly determined the Sentencing
                          Guidelines range, if the defendant objected at sentencing on
                          that basis;

                      1v. The sentence is above the Sentencing Guidelines range as
                          determined by the court at sentencing· and is unreasonable;

                      v. The guilty plea was involuntary or unknowing;

                      v1. An attorney who represented him during· the course of this
                          criminal case provided ineffective assistance of counsel.




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         13.      FOIA Requests.     The defendant hereby waives all rights, whether

 asserted directly or by representative, to request or receive from any department or

 agency of the United States any records pertaining to the investigation or

 prosecution of this case, including without limitation any records that may be

 sought under the Freedom oflnformation Act, 5 U.S.C. § 552, or the Privacy Act of

 1974, 5 U.S.C. § 552a.

         14.      The Court Is Not a Party to This Agreement.     The defendant

 understands that the Court is not a party to this agreement and is under no

 obligation to accept any recommendation by the U.S. Attorney's Office or the parties

 regarding the sentence to be imposed. The defendant further understands that,

 even if the court ignores such a recommendation or imposes any sentence up to the

 maximum established by statute, he cannot, for that reason withdraw his guilty

 pleas, and he will remain bound to fulfill all his obligations under this agreement.

 The defendant understands that no one can make a binding prediction or promise

 regarding the sentence that he will receive, except that it will be within the

 statutory maximum.

        15.       This Agreement Is Limited to the Parties.     This agreement is limited

 to the U.S. Attorney's Office for the Western District of Michigan, and cannot bind

 any other Federal, State or local prosecuting, administrative or regulatory

 authority. This agreement applies only to crimes committed by the defendant. This

 agreement does not apply to or preclude any past, present, or for future forfeiture or

 civil actions.



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         16.       Consequences of Breach. If the defendant breaches any provision of

   this agreement, including any promise of cooperation, whether before or after

   sentencing, the United States shall have the right to terminate_this agreement, or

   deny any or all benefits to which the defendant would otherwise be entitled under

   its terms. In the event the United States elects to terminate this agreement, the

   agreement shall be considered null and void, and the parties shall return to the

  same position they were in prior to the execution of this agreement, as though no

   agreement ever existed. In such event, the defendant shall remain liable for

  prosecution ·on all original charges, and the United States shall be free to bring such

  additional charges as the law and facts warrant. The defendant further agrees to

  waive and forever give up his right to raise any claim that such a prosecution is

  time-barred if the prosecution is brought within one year of the breach that gives

  rise to the termination of this agreement.

         17.       This is the Complete Agreement.      This agreement has been

  entered into by both sides freely, knowingly, and voluntarily, and it incorporates the

  complete understanding between the parties. No other promises have been made,

  nor may any additional agreements, understandings or conditions be entered into

  unless in writing signed by all parties or on the record in open court.

                                           ANDREW BYERLY BIRGE




  Date    I    I
                                           NILS R. KESSLER
                                           Assistant United States Attorney



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        I have read this agreement and carefully discussed every part of it with my
 attorney. I understand the terms of this agreement, and I voluntarily agree to those
 terms. My attorney has advised me of my rights, of possible defenses, of the
 sentencing provisions, and of the consequences of entering into this agreement. No
 promises or inducements have been made to me other than those contained in this
 agreement. No one has threatened or forced me in any way to enter into this
 agreement. Finally, I am satisfied with the representation of my attorney in this
 matter.



 Date
                                           ~
                                        KALEBJAMESFRANKs'
                                                                  ,
                                        Defendant


        I am Kaleb James Franks' attorney. I have carefully discussed every part of
 this agreement with my client. Further, I have fully advised my client of his rights,
 of possible defenses, of the sentencing provisions, and of the consequences of
 entering into this agreement. To my know ledge, my client's decision to enter into
 this agreement is an informed and voluntary one.




 Date
                                        Attorney for Defendant




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